   USCA Case #23-1157            Document #2102328                   Filed: 02/24/2025     Page 1 of 1

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                                              ofC Appeals
                                             ISTRICT OF    OLUMBIA   IRCUIT
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No. 23-1157                                                      September Term, 2024
                                                                                  EPA-88FR36654
                                                          Filed On: February 24, 2025 [2102328]
State of Utah, by and through its Governor,
Spencer J. Cox, and its Attorney General,
Sean D. Reyes,
                   Petitioner
         v.
Environmental Protection Agency and Lee
M. Zeldin, Administrator, U.S. EPA,
                   Respondents
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City Utilities of Springfield, Missouri, et al.,
                   Intervenors
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Consolidated with 23-1181, 23-1183,
23-1190, 23-1191, 23-1193, 23-1195,
23-1199, 23-1200, 23-1201, 23-1202,
23-1203, 23-1205, 23-1206, 23-1207,
23-1208, 23-1209, 23-1211, 23-1306,
23-1307, 23-1314, 23-1315, 23-1316,
23-1317

                                               ORDER
      It is ORDERED, on the court's own motion, that these cases be scheduled for oral
argument on April 25, 2025, at 9:30 A.M. The composition of the argument panel will usually
be revealed thirty days prior to the date of oral argument on the court's web site at
www.cadc.uscourts.gov.
         The time and date of oral argument will not change absent further order of the Court.
         A separate order will be issued regarding the allocation of time for argument.
                                                                FOR THE COURT:
                                                                Clifton B. Cislak, Clerk
                                                          BY:   /s/
                                                                Michael C. McGrail
                                                                Deputy Clerk
The following forms and notices are available on the Court's website:
         Memorandum to Counsel Concerning Cases Set for Oral Argument (Form 71)
